                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                                Plaintiff,       )
                                                 )
                v.                               )       No. 07-00115-11-CR-W-NKL
                                                 )
RICARDO RUIZ,                                    )
                                                 )
                                Defendant.       )


                               REPORT AND RECOMMENDATION
                                CONCERNING PLEA OF GUILTY

        The Defendant, by consent, has appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule

72(j)(26), and 28 U.S.C. § 636, and has entered a plea of guilty to Count 1 of the Information. I

determined that the guilty plea is knowledgeable and voluntary and that the offense charged is supported

by an independent basis in fact containing each of the essential elements of such offense. A record was

made of the proceedings and a transcript is available. I therefore recommend that the plea of guilty be

accepted and that the Defendant be adjudged guilty and have sentence imposed accordingly.

        Failure to file written objections to this Report and Recommendation within ten (10) days from

the date of its service shall bar an aggrieved party from attacking such Report and Recommendation

before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


                                                          s/ SARAH W. HAYS
                                                         SARAH W. HAYS
                                                         United States Magistrate Judge
Dated: June 11, 2008




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